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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:
                                                        Chapter 11
                                     1
Lordstown Motors Corp, et al.,
                                                        Case No. 23-10831 (MFW)
                          Debtors.
                                                        (Jointly Administered)


               NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING
                         ON JANUARY 10, 2024 AT 3:00 P.M. (ET)


         To attend a hearing remotely, please register using the eCourtAppearance tool
                (available here) or on the court’s website at www.deb.uscourts.gov

 *The deadline to register for remote attendance is 4:00 p.m. (prevailing Eastern Time)
 the            the business day before the hearing unless otherwise noticed.
 the

I.        RESOLVED MATTER:

          1.      Debtors’ Second Omnibus Motion for Entry of an Order (I) Authorizing the
                  Rejection of Certain Unexpired Leases and Executory Contracts Effective as of
                  the Dates Specified Herein and (II) Granting Related Relief [Docket No. 861 –
                  filed December 22, 2023]

                  Response/Objection Deadline:               January 3, 2024 at 4:00 p.m. (ET)

                  Responses/Objections Received:

                  Related Documents:

                  i.      Certificate of No Objection Regarding Debtors’ Second Omnibus Motion
                          for Entry of an Order (I) Authorizing the Rejection of Certain Unexpired
                          Leases and Executory Contracts Effective as of the Dates Specified Herein
                          and (II) Granting Related Relief [Docket No. 884 – filed January 4, 2024]

                  ii.     Order (I) Authorizing the Rejection of Certain Unexpired Leases and
                          Executory Contracts Effective as of the Dates Specified Herein and (II)
                          Granting Related Relief [Docket No. 889 – entered January 5, 2024]

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           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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           Status: On January 5, 2024, the Court entered an order resolving this matter.
                   Accordingly, a hearing is no longer necessary with regard to this matter.

II.   CONTINUED MATTERS:

      2.   Lead Plaintiff’s Motion to Apply Bankruptcy Rule 7023 to Class Claims [Docket
           No. 668 – filed November 6, 2023]

           Response/Objection Deadline:         November 14, 2023 at 4:00 p.m. (ET)

           Responses/Objections Received:

           A.     Debtors’ Objection to Ohio Lead Plaintiff’s Motion to Apply Bankruptcy
                  Rule 7023 to Class Claims [Docket No. 696 – filed November 14, 2023]

           B.     Objection of the Official Committee of Equity Security Holders to the
                  Lead Plaintiff’s Motion to Apply Bankruptcy Rule 7023 to Class Claims
                  [Docket No. 699 – filed November 14, 2023]

           Related Documents:

           i.     Declaration of James Lee in Support of Debtors’ Objection to Ohio Lead
                  Plaintiff’s Motion to Apply Bankruptcy Rule 7023 to Class Claims
                  [Docket No. 697 – filed November 14, 2023]

           Status: The hearing on this matter has been continued to a date and time to be
                   determined and will be noted on the record at the January 10, 2024
                   hearing.

      3.   Debtors’ First Omnibus Motion for Entry of an Order (I) Authorizing the
           Assumption of Certain Executory Contracts, (II) Fixing the Cure Costs in
           Connection Thereto and (III) Granting Related Relief [Docket No. 776 – filed
           December 5, 2023]

           Response/Objection Deadline:        December 12, 2023 at 4:00 p.m. (ET);
           extended until December 14, 2023 at 4:00 p.m. (ET) for TERIS-Phoenix LLC

           Responses/Objections Received:

           Related Documents:

           i.     Notice of Filing of Revised Proposed Order Regarding Debtors’ First
                  Omnibus Motion for Entry of an Order (I) Authorizing the Assumption of
                  Certain Executory Contracts, (II) Fixing the Cure Costs in Connection
                  Thereto and (III) Granting Related Relief [Docket No. 808 – filed
                  December 11, 2023]
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            Status: The hearing on this matter has been continued to a date and time to be
                    determined and will be noted on the record at the January 10, 2024
                    hearing.

       4.   Motion of the U.S. Securities and Exchange Commission for Order Further
            Extending Time to Take Action, to the Extent Necessary, to Determine the
            Dischargeability of a Debt to a Governmental Unit Pursuant to 11 U.S.C. §
            1141(d)(6) [Docket No. 847 – filed December 20, 2023]

            Response/Objection Deadline:          January 3, 2024 at 4:00 p.m. (ET); extended
            for the Official Committee of Unsecured Creditors, Equity Committee, and the
            Debtors until 7 days before the date of the continued hearing (which is TBD).

            Responses/Objections Received:

            Related Documents:

            Status: The hearing on this matter has been continued to a date and time to be
                    determined and will be noted on the record at the January 10, 2024
                    hearing.

III.   CONTINUED MATTER/CONFIRMATION:

       5.   Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and
            Its Affiliated Debtors [Docket No. 657 – filed November 1, 2023]

            Response/Objection Deadline:         December 8, 2023 at 4:00 p.m. (ET);
            extended for Former Directors and Officers until Monday, December 11, 2023 at
            12:00 p.m. (ET); extended for the Office of the United States Trustee for the
            District of Delaware until December 29, 2023 at 4:00 p.m. (ET); extended for the
            ERND until December 12, 2023 at 12:00 p.m. (ET); extended for NHTSA until
            January 3, 2024 at 4:00 p.m. (ET); extended for the Official Committee of
            Unsecured Creditors, Equity Committee, Security & Exchange Commission, the
            Ohio Securities Action Lead Plaintiff and Certain DiamondPeak Directors
            Foxconn until January 12, 2024 at 4:00 p.m. (ET)

            Responses/Objections Received:

            A.     Objection of Rahul Singh to Debtors’ Plan (Docket #766) [Docket No.
                   793 – filed December 7, 2023]

            B.     Objection of the United States Trustee to Confirmation of the Debtors’
                   Plan [Docket No. 878 – filed December 29, 2023]




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Related Documents:

i.     Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated
       Debtors [Docket No. 360 – filed September 1, 2023]

ii.    Order (I) Approving the Disclosure Statement and the Form and Manner
       of Notice, (II) Approving Plan Solicitation and Voting Procedures, (III)
       Approving Forms of Ballots, (IV) Approving Form, Manner, and Scope of
       Confirmation Notices, (V) Establishing Certain Deadlines in Connection
       with the Approval of the Disclosure Statement and Confirmation of the
       Plan, and (VI) Granting Related Relief [Docket No. 651 – filed November
       1, 2023].

iii.   Notice of (I) Approval of Disclosure Statement, (II) Establishment of
       Voting Record Date, (III) Hearing on Confirmation of the Plan, (IV)
       Procedures for Objecting to the Confirmation of the Plan, and (V)
       Procedures and Deadline for Voting on the Plan [Docket No. 661 – filed
       November 1, 2023]

iv.    Notice of Filing of Plan Supplement for the Modified First Amended Joint
       Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated Debtors
       [Docket No. 766 – filed December 1, 2023]

v.     Notice of Filing of Proposed Order (I) Confirming Modified First
       Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its
       Affiliated Debtors and (II) Granting Related Relief [Docket No. 767 –
       December 1, 2023]

vi.    Notice of Rescheduled Confirmation Hearing Date and Time [Docket No.
       831 – filed December 15, 2023]

Status: The hearing on this matter has been continued to a date and time to be
        determined and will be noted on the record at the January 10, 2024
        hearing.




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Dated: January 8, 2024
Wilmington, Delaware

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